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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

                                                )
EOLAS TECHNOLOGIES                              )
INCORPORATED,                                   )
                                                )
                      Plaintiff,                )   Civil Action No. 6:15-cv-01039-RWS
                                                )
       v.                                       )   JURY TRIAL DEMANDED
                                                )
GOOGLE INC.                                     )
                                                )
                      Defendant.                )
                                                )


    [PROPOSED] ORDER GRANTING GOOGLE INC.’S MOTION TO TRANSFER
           VENUE TO THE NORTHERN DISTRICT OF CALIFORNIA

       The Court, having considered Google Inc.’s submission in connection with its Motion to

Transfer Venue to the Northern District of California, and for good cause shown, hereby finds

that the motion should be GRANTED.

       It is therefore ORDERED that this case is hereby transferred to the United States District

Court for the Northern District of California pursuant to 28 U.S.C. § 1404(a).
